Case 1:04-cv-07280-GBD-SN Document 536-5 Filed 04/01/19 Page 1 of 4




            Exhibit 5
              Case 1:04-cv-07280-GBD-SN Document 536-5 Filed 04/01/19 Page 2 of 4




   World Assembly of Muslim Youth
         Member of the UN NGO's


                          19519/1
       Ref. No ····· ··· 1440/07/lJ · =~_rll
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       Date           ... 2019/03/20. =t:e,Jl:11                                                 The Secretary General Office




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P.O. Box:10845 Riyadh11443 - Kingdom of Saudi Arabia                       '½~.,.......,,¼~ I~1-1\ tt r _,...l:!->-1 1_ \.,\to..,..'-""
Building 1079 King Fahd Road- Muhammadiah Dist.                                          ~""'-1 1'T'- ~      cill l ~_;b- 1 •V\ ~     l ~J
Tel: (+96611) 2050000 Fax: (+96611) 2050011                                     +(\i'II ) Y• o .. II :..,...S~ + (\ii11) Y•o .... ,...;.:;LA
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                   Case 1:04-cv-07280-GBD-SN Document 536-5 Filed 04/01/19 Page 3 of 4
                                    In the Name of Allah Most Gracious
                                               Most Merciful


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World Assembly of Muslim Youth
   Member of the UN NGO’s                                                            ‫ﻟﻠﺸﺒﺎﺏ ﺍﻹﺳﻼﻣﻲ‬
                                                                              ‫ﻏ� ﺍﻟﺤﻜﻮﻣ�ﺔ – ﻫﻴﺌﺔ ﺍﻷﻣﻢ ﺍﻟﻤﺘﺤﺪﺓ‬
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      Ref. No: 19519/1                                                                ‫ﻣﻜﺘﺐ ﻱ ﻥ‬
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      Date: 1440/07/13 Hijri                                              The Secretary-General Office
      Corresponding to: 2019/03/20 A.D.

                                                         Authorization
                                                         U




             Sirs. / Messrs. at Riyad Bank
             Greetings,
             I hope you are well and in good health.
             Hereby, the World Assembly of Muslim Youth authorizes Ibrahim Bin Mohammad Al-Shaalan,
             of the Saudi Arabian nationality, and his civil registry No. is (1021123920), to audit the World
             Assembly’s bank account No. (2091509939941) at your honorable bank and to extract an
             account statement, with taking into consideration that the Assembly has no objection to you to
             deduct the fee of issuing the account statement.


             Kind Regards.
             May the peace and blessings of Allah be upon you.




                  Secretary-General                                     Assistant Secretary-General
          Dr. Saleh Bin Sulaiman Al Wohaibi                                  Financial Director
                      [signature]                                 Dr. Abdul-Hameed Bin Yousuf Al-Mazroo
                                                                                 [signature]


                               Stamp: World Assembly of Muslim Youth
                                      General Secretariat / Riyadh
                                 Established in: 1972 A.D. – 1392 Hijri




P.O. Box: 10845 Riyadh 11443 – Kingdom of Saudi Arabic                      ‫ – ﺍﻟﻤﻤﻠﻜﺔ ﺍﻟﻌﺮﺑﻴﺔ ﺍﻟﺴﻌﻮﺩﻳﺔ‬11443 ‫ – ﺍﻟﺮﻳﺎﺽ‬10845 :‫ﺏ‬.‫ﺹ‬
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I, VictoriaVaile, Translation Manager for Nova Languages, Inc., being duly swom, hereby certifr that
Mohanned Khallof is a translator affiliated with Nova Languages, Inc., a corporate member of the American
TranslatorsAssociation, and that he is competent to translate from the Arabic language to the English language.
And that he translated the following document from the Arabic language to the English language.
The translation was proofread and reviewed and is accurate to the best of my knowledge and belief.

RE: WAMY Authortzation to the Lauryer 2



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Sworn to before me this                                         r
                                                                Translation Manager
           of                           of 20fr
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